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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION
LEE MEMORIAL HEALTH SYSTEM,
Plaintiff,
vs. Case No. 2:04-cv-445-FtM- 9 9DNF
MEDICAL SAVINGS INSURANCE COMPANY,

Defendant.

 

SPECIAL INTERROGATORIES AND VERDICT FORM
A. Third-Party Beneficiary

Do you find from a preponderance of the evidence:

l. That a contract existed between Medical Savings
Insurance Company and NPPN?

Answer Yes or No JES
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2. That it was the clear cr manifest intent of either the
MSIC/NPPN contract itself or Medical Savings Insurance Company
and NPPN that the contract primarily and directly benefit Lee
Memorial Health System or a class of persons to which Lee
Memorial Health System belonged?

Answer Yes or No Yee
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3. That Medical Savings Insurance Company breached its

contract with NPPN?

Answer Yes or No V0

 

4, That this breach was the direct and proximate cause of
the damages suffered by Lee Memorial Health System?

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Answer Yes or No VO

If you answered “no” to any of Questions 1, 2, 3, or 4 your
verdict is for Medical Savings Insurance Company on plaintiff’s
claim of breach of third-party beneficiary contract. . Please
skip to question 6. If you answered “yes” to Questions 1
through 4, please proceed to Question 5.

5. What i the amount which is the total reasonable

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amount required that the contract required Medical Savings
Insurance Company to pay Lee Memorial Health System for its
goods and service provided to the nineteen (19) patients in the
twenty-one (21) patient accounts in this case. This amount
must be at least $80,182.63 but can be no greater than

$259,034.25.

 
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B. Implied-in-Fact Contract

Do you find from a preponderance of the evidence:

6. That the actions, conduct, course of dealing or course
of performance of Medical Savings Insurance Company and Lee
Memorial Health System establish that each party intended that
Medical Savings Insurance Company would pay Lee Memorial Health
System a reasonable amount for the healtn care goods and
services rendered to Medical Savings Insurance Company's
policyholders?

Answer Yes or No ¥ ES

7. That Medical: Savings Insurance Company breached the
implied contract in fact by failing or refusing to pay Lee
Memorial Healtn System a reasonable amount for the health care
goods and services provided to the policynolders?

Answer Yes or No YES

8. That as a proximate result of Medical Savings
Insurance Company's actions, Lee Memorial Health System

suffered damages?

 

Answer Yes or No YES

If you answered “no” to any of questions 6, 7, or 8, your

verdict is for Medical Savings Insurance Company on plaintiff's

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claim of breach of implied-in-fact contract. Please skip to
question Wu If you answered “yes” to Questions 6, 7, and 8,

rf please proceed to Question 9.

9. What is the amount which is the total reasonable
charges by Lee Memorial Health System for its goods and service
provided to the nineteen (19} patients in the twenty-one (21)
patient accounts in this case. This amount must be at least

$80,182.63 but can be no greater than $259,034.25.
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Cc. Implied-in-Law Contract

Do you find from a preponderance y the evidence:
we ll. That Lee Memorial conferred a benefit on
Medical Savings Insurance Company?

Answer Yes or No VES

12. That Medical Savings Insurance Company had knowledge
of the benefit?

Answer Yes or No y ES
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13. That Medical Savings Insurance Company accepted or
retained the benefit conferred?

Answer Yes or No Ves

14. That under the circumstances it would be inequitable
for Medical Savings Insurance Company to retain the benefit
without paying fair value for it?

Answer Yes or No YES

If you answered “no” to any of questions 11, 12, 13, or 14,
your verdict is for Medical Savings Insurance Company on
plaintiff’s claim of breach of implied-in-law contract. Please
skip to question 16. If you answered “yes” to Questions 11,

12, 13, and 14, please proceed to Question 15.

15. What is the amount which is the total reasonable
charges by Lee Memorial Health System for its goods and service
provided to the nineteen (19) patients in the twenty-one (21)
patient accounts in this case. This amount must be at least

$80,182.63 but can be no greater than $259,034.25.

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D. Promissory Estoppel

Do you find from clear and convincing evidence:

16. That Medical Savings Insurance Company's verbal or
written representations, actions or conduct induced or caused
Lee Memorial Health System to believe that Medical Savings
Insurance Company would pay the full pilled charges for health
care services rendered to the policyholders?

Answer Yes or No YES

17. That Lee Memorial Health System justifiably relied on
the representations, actions or conduct?

Answer Yes or No NE:

18. That Lee Memorial Health System to its detriment
provided health care services to the policyholders?
Answer Yes or No yf ES
19. That Medical Savings Insurance Company reasonably
should have expected that Lee Memorial Health System would rely
on its representations, action or conduct and be induced to
render health care services to the policyholders?

Answer Yes or No V ES

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20. That it would be unjust not to require the Medical
Savings Insurance Company to pay the full billed charges for
the health care services rendered to the policyholders?

Answer Yes or No Ye >

If you answered “no” to any of questions 16, 17, 18, 19 or 20,
your verdict is for Medical Savings Insurance Company on
plaintiff's claim of promissory estoppel. Please skip to
question 22. If you answered “yes” to Questions 16, 17, 18,

19, and 20, please proceed to Question 21.

21. “What is the amount which is the total reasonable
charges by Lee Memorial Health System for its goods and service
provided to the nineteen (19) patients in the twenty-one (21)
patient accounts in this case. This amount must be at least

$80,182.63 but can be no greater than $259,034.25.

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EB. Insurance Contract

Do you find from a preponderance of the evidence:

22. That the right to payment of benefits under the
insurance policies were assignec by the policyholders to Lee
Memorial Health System, or that Lee Memorial Health System is
a third party beneficiary of the insurance policies?

Assignment: Answer Yes or No ye S

Third Party Beneficiary: Yes

23. That Medical Savings Insurance Company breachea an

obligation under the insurance contracts?
Answer’ Yes or No y i,

24. That as a proximate result of Medical Savings
Insurance Company's breach, Lee Memorial health System suffered
damages?

Answer Yes or No VES
If you answered “no” to any of questions 23, or 24, your
verdict is for Medical Savings Insurance Company on plaintiff's
claim of breach of insurance contract. Please skip to question
26. If you answered “yes” to Questions 22, 23, and 24, please

proceed to Question 25.
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25. What is the amount which is the total reasonable
charges by Lee Memorial Health System for its goods and service
provided to the nineteen (19) patients in the twenty-one (21)
patient accounts in this case. This amount must be at least

$80,182.63 but can be no greater than $259,034.25.

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F. Wrongful Interference with Contractual Rights
Do you find from a preponderance of the evidence:
26. That contracts existed between Lee Memorial Health

System and its patients insured by Medical Savings Insurance

 

 

Company?
Answer Yes or No Vy ES
27. That Medical Savings Insurance Company knew of the
contracts?
Answer Yes or No Se

28. That Medical Savings Insurance Company intentionally
enticed, induced or encouraged Lee Memorial Health System’s
patients not to honor or comply with their obligations under
the contracts?

Answer Yes or No VES
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29. That Medical Savings Insurance Company had no lawful
justification or privilege to entice, induce or encourage the
patients not to honor or comply with their obligations under
the contract?

Answer Yes or No VED

 

30. As a proximate result of Medical Savings Insurance
Company's wrongful acts, Lee Memoriai Health System suffered
damages?

Answer Yes or No VES

You need not compute any amount of damages. The Court will
compute any such amount based upon your answers to these

interrogatories.

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Date

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